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FINCH, J. reads for reversal and new trial.
All concur, except RUGER, Ch. J., not sitting.
Judgment reversed